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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  CENTILLION DATA SYSTEMS, LLC,             )   Case No. 1:04-cv-0073-LJM-WTL
                                            )
                 Plaintiff,                 )
                                            )
                 v.                         )
                                            )
  CONVERGYS CORPORATION, QWEST              )
  COMMUNICATIONS INTERNATIONAL,             )
  INC., and QWEST CORPORATION,              )
                                            )
                 Defendants.                )
                                            )
                                            )
  CONVERGYS CORPORATION,                    )
                                            )
                 Counter-Claimant,          )
                                            )
                 v.                         )
                                            )
  CENTILLION DATA SYSTEMS, LLC,             )
                                            )
                 Counter-Defendant.         )
                                            )
                                            )   Case No. 1:04-cv-2076
  QWEST CORPORATION; QWEST                  )   (consolidated with above)
  COMMUNICATIONS,                           )
                                            )
                 Consolidated Plaintiffs,   )
                                            )
                 v.                         )
                                            )
  CENTILLION DATA SYSTEMS, LLC;             )
  CITI GROUP HOLDINGS, INC.,                )
                                            )
                 Consolidated Defendants.   )
                                            )


       CONSOLIDATED PLAINTIFFS’ SECOND AMENDED COMPLAINT FOR
   DECLARATORY JUDGMENT OF NONINFRINGEMENT AND INVALIDITY OF U.S.
         PATENT NO. 5,287,270 AND IMMUNITY UNDER 28 U.S.C. § 1498




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          Consolidated Plaintiffs Qwest Corporation (“QC”) and Qwest Communications

  Corporation (“QCC”) (collectively, “Consolidated Plaintiffs”), by and through their attorneys,

  hereby allege, upon personal knowledge with respect to themselves and their own acts, and upon

  information and belief with respect to all other matters, the following claims for declaratory

  relief against Consolidated Defendants CTI Group (Holdings), Inc. and Centillion Data Systems,

  LLC. (collectively, “Consolidated Defendants”):

          1.        This is an action for a declaratory judgment of patent noninfringement and

  invalidity for the purpose of resolving a question of actual controversy between the parties, as

  alleged herein.

                                             JURISDICTION

          2.        This Court has jurisdiction over these claims for declaratory relief arising under

  the patent laws of the United States, 35 U.S.C. §§ 1 et seq., pursuant to 28 U.S.C. § 1338(a) and

  the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. Upon information and

  belief, Consolidated Defendants conduct business in and have substantial contact with the State

  of Indiana such that requiring Consolidated Defendants to respond to this action will not violate

  due process. Upon information and belief, Consolidated Defendants are subject to the personal

  jurisdiction of this Court.

          3.        Venue is proper pursuant to 28 U.S.C. §§ 1391. Consolidated Plaintiffs have

  engaged in activity in this judicial district alleged to infringe the Patent in Suit, which is

  purportedly owned by the Consolidated Defendants. In particular, Consolidated Plaintiffs have

  offered to sell allegedly infringing services and/or products to many customers located in this

  district.




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           4.    There is an actual controversy between the parties with regard to the non-

  infringement of United States Patent No. 5,287,270 (the “'270 patent”). A reasonable

  apprehension of a suit for infringement of the '270 patent has been created by the Consolidated

  Defendants or those acting by or for the Consolidated Defendants with respect to the ability of

  Consolidated Plaintiffs to make, use, sell, and/or offer to sell at least some of its products and

  services.
                                               PARTIES

           5.    Plaintiff Qwest Corporation is a corporation organized and existing under the

  laws of Colorado, having its principal place of business at 1801 California, Denver, Colorado

  80202.

           6.    Plaintiff Qwest Communications Corporation is a corporation organized and

  existing under the laws of Delaware, having its principal place of business at 1801 California,

  Denver, Colorado 80202.

           7.    Upon information and belief, Centillion Data Systems, LLC, (“CDS”) is a

  Delaware corporation, having its principal place of business at 333 North Alabama Street,

  Indianapolis, Indiana 46204. Upon information and belief, CDS does business in this district. In

  CallVision, Inc. v. Centillion Data Systems, LLC et al., U.S.D.C. for the Western District of

  Washington, Case No. C03-916Z, CDS admitted that it does business in this district.

           8.    Upon information and belief, CTI Group (Holdings), Inc., (“CTIG”) is a

  Delaware corporation having its principal place of business at 333 North Alabama Street,

  Indianapolis, Indiana 46204. Upon information and belief, CTIG does business in this district.

  In CallVision, Inc. v. Centillion Data Systems, LLC et al., U.S.D.C. for the Western District of

  Washington, Case No. C03-916Z, CTIG admitted that it does business in this district.




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          9.      Upon information and belief, CTIG and CDS are providers of billing and

  customer management software and services to the communications and utility markets.

                                EVENTS GIVING RISE TO THIS SUIT

          10.     Upon information and belief, Defendant CDS is the assignee of the '270 patent,

  entitled “Billing System,” issued February 15, 1994. The '270 patent on its face indicates it was

  assigned to Compucom Communications Corp. Upon information and belief, the '270 patent

  was subsequently assigned to Centillion Data Systems, Inc., and then assigned to CDS. A true

  and correct copy of the '270 patent is attached as Exhibit 1.

          11.     Upon information and belief, CTIG is the parent company of CDS and owns ten

  percent (10%) or more of its membership interest. Threats of suit against Consolidated Plaintiffs

  regarding the '270 patent have been made by and on behalf of CTIG.

          12.     On September 13, 2002, CTIG, through its counsel, sent a letter to Qwest

  Communications International, Inc. indicating that through its subsidiaries it has obtained certain

  patents including the '270 patent. A true and correct copy of this letter is attached hereto as

  Exhibit 2.

          13.     In its September 13, 2002 letter, CTIG asserted that it “has successfully litigated,

  negotiated and licensed the usage of this patented process to corporate entities such as AT&T,

  Ameritech, and SBC, among many other major settlements that have been confidentially reached

  after the initiation of litigation.”

          14.     CTIG added, in its September 13, 2002 letter, “After initial investigation into

  Qwest’s product/service suite, and based upon that research, we anticipate that a similar

  arrangement between CTIG and Qwest Communications is appropriate for both parties.”




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          15.     Qwest’s counsel responded on September 30, 2002, indicating that the

  September 13, 2002 letter was referred to counsel for Qwest for reply and that Qwest would

  investigate CTIG’s claims. A true and correct copy of this letter is attached hereto as Exhibit 3.

          16.     On February 25, 2003, CTIG’s counsel sent Qwest’s counsel a letter wherein

  CTIG admitted that Qwest’s Logic, BillMate, and Integrated Access Billing Systems Services

  applications do not literally infringe the ‘270 patent. A true and correct copy of this letter is

  attached hereto as Exhibit 4.

          17.     On November 20, 2003, Qwest’s counsel sent CTIG’s counsel a letter explaining

  that Qwest’s products did not infringe any claims in CTIG’s patent. A true and correct copy of

  this letter is attached hereto as Exhibit 5.

          18.     On February 25, 2004, Centillion filed a First Amended Complaint in the U.S.

  District Court for the Southern District of Indiana charging “Qwest” and other named defendants

  with infringement of the '270 patent. Centillion Data Systems, LLC v. BellSouth Corporation, et

  al., Case No. 1:04-CV-0073 LJM-WTL.

          19.     During a telephone call on or around July 12, 2004, Consolidated Defendants,

  through their counsel, informed Consolidated Plaintiffs' counsel that Consolidated Defendants

  believe a Qwest entity providing long distance services in Indiana infringes the '270 patent. The

  Qwest entity that provides long distance services in Indiana is Qwest Communications

  Corporation.

          20.     Based on the foregoing, there is an actual, substantial and continuing justifiable

  controversy between Consolidated Plaintiffs and Consolidated Defendants as to Consolidated

  Defendants’ allegations that Consolidated Plaintiffs’ products and services infringe the claims of

  the '270 patent.




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            21.   Consolidated Plaintiffs Qwest Corporation and Qwest Communications

  Corporation therefore seek a judicial determination and a declaration of the respective rights and

  duties of Consolidated Plaintiffs and Consolidated Defendants with regard to the '270 patent and

  Consolidated Plaintiffs’ products and services. Such a determination and declaration is

  necessary and appropriate at this time so that the parties may ascertain their respective rights and

  duties.

                                               COUNT I

              Declaratory Judgment of Non-Infringement of U.S. Patent No. 5,287,270

            22.   Consolidated Plaintiffs incorporate by reference, as though fully set forth, the

  allegations contained in paragraphs 1 through 21 of this Complaint.

            23.   Consolidated Plaintiffs have not directly infringed, contributed to the

  infringement of, or induced others to infringe, any claim of the '270 patent either literally or

  under the doctrine of equivalents.

            24.   On information and belief, Consolidated Defendants are estopped from asserting a

  scope for the claims of the '270 patent sufficient to cover Consolidated Plaintiffs’ products and

  services because of statements made on behalf of the applicant during the prosecution of the '270

  patent before the United States Patent and Trademark Office.

            25.   Consolidated Plaintiffs have not willfully infringed any claim of the '270 patent.

                                              COUNT II

                  Declaratory Judgment of Invalidity of U.S. Patent No. 5,287,270

            26.   Consolidated Plaintiffs incorporate by reference, as though fully set forth, the

  allegations contained in paragraphs 1 through 25 of this Complaint.




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         27.     The '270 patent is invalid and unenforceable because, inter alia, the '270 patent

  was not obtained in a manner consistent with and required by the provisions of Title 35 of the

  United States Code, and in particular because it fails to comply with at least the required

  condition for patentability under 35 U.S.C. § 103 for non-obviousness in view of the prior art.

                                             COUNT III

                   Declaratory Judgment of Immunity Under 28 U.S.C. § 1498

          28.    Consolidated Plaintiffs incorporate by reference, as though fully set forth, the

  allegations contained in paragraphs 1 through 27 of this Complaint.

          29.    Consolidated Plaintiffs are immune from liability for products that are used or

  manufactured by or for the United States or processes used by or for the United States, because

  any claims and demands for relief are barred by 28 U.S.C. § 1498.

                                   DEMAND FOR JURY TRIAL

         30.     Pursuant to Fed. R. Civ. P. 38, Consolidated Plaintiffs Qwest Corporation and

  Qwest Communications Corporation hereby demand a trial by jury of all issues so triable.

                                      PRAYER FOR RELIEF

         WHEREFORE, Qwest Corporation and Qwest Communications Corporation pray for

  judgment against Consolidated Defendants as follows:

         A.      A declaratory judgment that Consolidated Plaintiffs do not infringe, contribute to

  the infringement of, or induce the infringement of, or willfully infringe, any claim of United

  States Patent No. 5,287,270;

         B.      A declaratory judgment that each of the claims of United States Patent

  No. 5,287,270 are invalid and unenforceable;




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         C.      That Consolidated Defendants, their subsidiaries, affiliates, parent, successors,

  assigns, officers, agents, servants, employees, attorneys, and all persons acting in concert or in

  participation with them, or any of them, be enjoined from asserting any claim of United States

  Patent No. 5,287,270 against Consolidated Plaintiffs;

         D.      That this case be deemed exceptional and that Consolidated Plaintiffs be awarded

  their reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;

         E.      That Consolidated Plaintiffs be awarded their costs of suit; and

         F.      That Consolidated Plaintiffs be awarded such other and further relief as the Court

  deems just and proper.

  QWEST CORPORATION DEMANDS TRIAL BY JURY PURSUANT TO Fed. R. Civ. P. 38

         Dated this 11th day of April, 2008.



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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on the 11th day of April 2008, a copy of the
  foregoing CONSOLIDATED PLAINTIFFS’ SECOND AMENDED COMPLAINT FOR
  DECLARATORY JUDGMENT OF NONINFRINGEMENT AND INVALIDITY OF U.S.
  PATENT NO. 5,287,270 AND IMMUNITY UNDER 28 U.S.C. § 1498 was filed in this Court.
  Notice of this filing will be sent by operation of the Court’s electronic filing system or by U.S.
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